                        Case 3:20-cr-00786-KC Document 1 Filed 02/11/20 Page 1 of 2
AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                                                                                             FILED
                                                                                                           02/11/2020
                               WESTERN DISTRICT OF TEXAS, EL PASO DIVISION                          Clerk, U.S. District Court
                                                                                                    Western District of Texas


                                                                                              By:               RRV
                                                                                                                                 Deputy




USA                                                             §
                                                                § CRIMINAL COMPLAINT
vs.                                                             § CASE NUMBER: EP:20-M -00877(1) - MAT
                                                                §
(1) AMERICA ORALIA PABLO-GERANIMO                               §


                I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about February 08, 2020 in El Paso county, in the WESTERN DISTRICT OF TEXAS

defendant did, being an alien to the United States, enter, attempt to enter, or was found in the United States after

having been previously excluded, deported, or removed from the United States without receiving permission to reapply

for admission to the United States from the Attorney General of the United States and the Secretary of Homeland

Security, the successor pursuant to Title 6, United States Code, Sections 202(3), 202(4), and 557



in violation of Title              8               United States Code, Section(s)      1326

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the following facts:

"The DEFENDANT, America Oralia PABLO-Geranimo aka Estella MATEO-Simon, an alien to the United States and a citizen

of Guatemala was found approximately 3.11 miles west of the Paso Del Norte, Texas Port of Entry in the Western District

of

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                               Signature of Complainant
                                                                               Rodriguez, Luis Enrique
                                                                               Border Patrol Agent

02/11/2020                                                                at   EL PASO, Texas
File Date                                                                      City and State



MIGUEL A. TORRES                                                               ______________________________
UNITED STATES MAGISTRATE JUDGE                                                 Signature of Judicial Officer
                   Case 3:20-cr-00786-KC Document 1 Filed 02/11/20 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT - EP:20-M -00877(1)

WESTERN DISTRICT OF TEXAS

(1) AMERICA ORALIA PABLO-GERANIMO

FACTS   (CONTINUED)

Texas. From statements made by the DEFENDANT to the arresting agent, the DEFENDANT was determined
to be a native and citizen of Guatemala, without immigration documents allowing him to be or remain in the
United States legally. The DEFENDANT has been previously removed from the United States to Mexico on
02/06/2020 through El Paso, Tx. The DEFENDANT has not previously received the expressed consent from
the Attorney General of the United States or the Secretary of Homeland Security to reapply for admission into
the United States.

The DEFENDANT was previously apprehended on 1/29/2020 in El Paso, Texas. At the time of the 1/29/2020
apprehension the DEFENDANT claimed to be a citizen of Mexico with no immigration documents to be legally
in the United States. The DEFENDANT was prosecuted for 8 USC 1325 Illegal Entry on 01/31/2020 and
removed to Mexico on 2/6/2020.

Because this affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.

IMMIGRATION HISTORY:
The DEFENDANT has been deported 1 time(s), the last one being to GUATEMALA on February 6, 2020,
through PASO DEL NORTE, TX, BRIDGE


CRIMINAL HISTORY:
01/31/2020, EL PASO, TEXAS, 8 USC 1325(M), CNV, 6 DAYS CONFINEMENT.
